                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA

                                      Charlottesville Division


     DENA BOWERS,                                  )
                                                   )
                    Plaintiff,                     )
                                                   )
     v.                                            )      Civil Action No. 3:06-cv-00041
                                                   )
     NAT SCURRY, and                               )
     LUCINDA CHILDS-WHITE                          )
                                                   )
                    Defendants.                    )


                           DEFENDANTS’ UNOPPOSED MOTION
                              FOR ENTRY OF JUDGMENT

            Defendants, Nat Scurry and Lucinda Childs-White, by counsel, pursuant to Rules

     56 and 58 of the Federal Rules of Civil Procedure and based on Plaintiff’s Stipulation

     [Docket No. 104], respectfully move this Court for entry of Final Judgment in favor of

     Defendants on the remaining claim in this case.

            For the reasons stated in Plaintiff’s Stipulation [Docket No. 104], Defendants

     certify that this Motion is unopposed and therefore no supporting brief is being filed.



     Date: March 22, 2007




Case 3:06-cv-00041-NKM-JGW Document 105 Filed 03/22/07 Page 1 of 2 Pageid#: 2043
     Respectfully submitted,

     NAT SCURRY, and
     LUCINDA CHILDS-WHITE

     By:    /s/ Barry T. Meek_______________
                      Counsel

     Richard C. Kast    (VSB No. 13381)
     Margaret A. Browne (VSB No. 34897)
     Barry T. Meek      (VSB No. 41715)

     Associates General Counsel and
            Special Assistant Attorneys General
     Office of the General Counsel
     Madison Hall
     University of Virginia
     P.O. Box 400225
     Charlottesville, Virginia 22904-4225
     (434) 924-3586

                                        CERTIFICATE

            I hereby certify that on the 22nd day of March 2007 a true copy of the foregoing

     Defendants’ Unopposed Motion for Entry of Judgment was served via CM/ECF

     electronic means on counsel for the Plaintiff, Deborah C. Wyatt, Esquire, Wyatt &

     Associates, 300 Court Square, Charlottesville, Virginia 22902, and Neal L. Walters,

     Esquire, Scott Kroner PLC, 418 East Water Street, Charlottesville, Virginia 22902.




                                                  /s/ Barry T. Meek________________




                                      2
Case 3:06-cv-00041-NKM-JGW Document 105 Filed 03/22/07 Page 2 of 2 Pageid#: 2044
